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                                              19


  1   Robert P. Goe – State Bar No. 137019
      Dixon Gardner – State Bar No. 213119
  2   GOE FORSYTHE & HODGES LLP
      17701 Cowan, Suite 210
  3   Irvine, CA92614
      Telephone: (949) 798-2460
  4   Facsimile: (949) 955-9437
  5   Attorneys for Movants Robert P. Goe
      and Erika Goe
  6
  7                             UNITED STATES BANKRUPTCY COURT
  8                             SOUTHERN DISTRICT OF CALIFORNIA
  9
      In re
 10                                                           Case No. 24-1376-CL7
      PIRCH, Inc.
 11                                            Chapter 7
                                      Debtor.
 12   ________________________________________ RS No.: GFH-1
 13
                                                              DECLARATION OF ROBERT P. GOE IN
      Robert P. Goe, an individual, and Erika Goe, an
 14   individual,                                             SUPPORT OF MOTION FOR RELIEF
                                                              FROM STAY
 15                                            Movants,       (L.B.R.4001-2(a)(5))
 16    vs.
 17    PIRCH, Inc., a California corporation, and
       LESLIE T. GLADSTONE, Chapter 7 Trustee
 18
                                           Respondents.
 19
 20           I, Robert P. Goe, declare as follows:
 21           1.     I am a principal for the law firm of Goe Forsythe & Hodges LLP, which is counsel
 22   of record for the Movants (i.e. my wife Erika Goe and I) in this Motion for Relief from Stay. I
 23   currently have custody and control over the business records of the Movants as they pertain to the
 24   Debtor PIRCH, Inc., a California corporation (“Debtor”), herein and have access to all of the
 25   physical files and information of the Movants regarding Debtor. I am over 18 years of age. I have
 26   personal, firsthand knowledge of all facts set forth in this Declaration. If called as a witness to
 27   testify to any facts set forth herein, I could and would competently do so. My knowledge of the
 28   facts herein is based on my personal knowledge.



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  1             2.     Attached hereto as Exhibit 1 is a screenshot of Debtor’s website Pirch.com which
  2   states:
  3             As of Wednesday March 20th, PIRCH is temporarily closing all our showrooms through
                this weekend. This is a pause of business to give management the opportunity to complete
  4             a go-forward plan.
  5             We are navigating through various options. We take this situation very seriously and are
                working diligently to resolve it. We appreciate your patience while we work to find a path
  6             forward. We intend to share the go forward plans sometime next week.
  7             3.     On or about October 28, 2023, my wife, Erika Goe, and I (referred to
  8   hereafter as “we”, “us”, “ours”) entered into a contract (“Contract”) for the sale of kitchen
  9   appliances. Specifically, we agreed – among other things -- to purchase a Wolf gas range burner
 10   for $12,189; refrigerator installation kit for $270; and a Sub-Zero freezer for $8,319.00
 11   (collectively referred to as the “Appliances” and their total purchase price is $20,778). On or
 12   about October 28, 2024, we paid the Debtor the entire Contract for the full amount of $40,510.31.
 13   A true and correct copy of my cancelled check for $40,510.31 that I paid on November 1, 2023

 14   from my City National Bank account (ending with the last four account numbers 9594) to Debtor

 15   is attached hereto as Exhibit 2. Some other Appliances in the Contract have been delivered. The

 16   specific name of the Appliances that were not delivered for which I have specific serial numbers

 17   identifying my property are (a) gas range burner manufactured by Wolf with Product Number
      GR486G with the product description of 48 inch gas range 6 burner, griddle, NG; (b) refrigerator
 18
      installation kit manufactured by Sub-Zero with Product Number 7023628 with the product
 19
      description of dual installation kit (handle to handle install); and (c) the freezer manufactured by
 20
      Sub-Zero with Product Number DEC2450FI/L with the product description of 24 inch column all
 21
      freezer, left hinge – panel ready. The Appliances were confirmed for delivery on March 20, 2024.
 22
                4.     Since March 1, 2024 to April 8, 2024, I have been in contact with project
 23
      coordinator Lesa Perez by text messages and emails. A true and correct copy of my texts that I
 24
      sent and received from Ms. Perez from March 1, 2021 to April 8, 2024 are attached hereto as
 25
      Exhibit 3. On March 20, 2024 at 7:44 a.m., I sent Ms. Perez an email to request her to confirm
 26
      the delivery time for the Appliances that day. A true and correct copy of my emails sent by me
 27   and Ms. Perez to each on March 20 and 21 of 2024 is attached hereto as Exhibit 4. On March 20,
 28



                                                         2
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  1   2024 at 8:32 p.m., Ms. Perez sent me an email to state that Debtor would deliver the Appliances

  2   from 9:00 a.m. to noon that day. (Exhibit 4.)

  3          5.      On March 20, 2024, I had a telephone conference with Ms. Perez wherein she

  4   advised me that the Appliances were sitting on a truck in a warehouse for delivery to my Santa

  5   Ana home and that I had paid for these Appliances. (Exhibit 3 at 3:3-4.) On March 21, 2024, I
      wrote Ms. Perez to request that she advise me when this warehouse reopens so I can pick up the
  6
      Appliances stored therein. (Exhibit 3 at 3:10-13.)
  7
             6.      On March 21, 2024, I wrote Ms. Perez to ask her to send me my delivery order to
  8
      show that my Appliances were on a truck in the warehouse. In response, she sent the Picking
  9
      Ticket to me with serial numbers for my Appliances. (Exhibit 3 at 3:20 to 4:10; Exhibit 4, first
 10
      two pages.) A true and correct copy of this Picking Ticket is attached hereto as Exhibit 5.
 11
             7.      On March 21, 2024, Ms. Perez stated that the truck holding my Appliances was
 12
      located at the Debtor’s Vista, California warehouse. (Exhibit 3 at 4:21-26.) On April 1, 2024, Ms.
 13
      Perez stated that my Appliances were on a truck in the Debtor’s warehouse, which is located at
 14
      12740 East Florence Avenue, Santa Fe Springs, California 90670 (“Warehouse”). (Exhibit 3 at
 15   7:23-25.)
 16          8.      The Contract states that the Shipment Method is “Fix Deliveries”. After we
 17   Requested delivery of our Appliances, the Debtor sent us a “Picking Ticket” dated March 21,
 18   2024, with specific serial numbers for our Appliances. (Exhibits 2 and 5.) The Picking Ticket
 19   states that the Debtor will ship all of the Appliances by March 20, 2024. This did not occur; and,
 20   at present, our Appliances are sitting in the Debtor’s Warehouse which the Debtor through its
 21   project coordinator Lesa Perez as late as April 1, 2024 has identified by serial numbers each of the

 22   Appliances and has communicated to us that our Appliances are at the Warehouse or sitting on one

 23   of Debtor’s trucks for delivery. See Exhibit 3 for text messages between me and Ms. Perez about

 24   the location of the Appliances; Exhibit 5 for a copy of the Debtor’s Picking Ticket.

 25          9.      Trustee is currently in possession of our Appliances and the $20,778 paid by us to
      purchase them.
 26
             10.     Trustee is in possession of our Appliances in its Warehouse or on delivery trucks.
 27
      Under the Contract, we have the right to immediate possession of our Appliances, specifically
 28
      identified in the Picking Ticket.


                                                       3
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                                               19


  1           11.    The value of the Appliances is $ 20,788, their purchase price under the Contract

  2   since the Appliances are brand new and have never been used. After identifying the Appliances in

  3   the Picking Ticket after their sale by Debtor to us, Debtor has no interest or equity in any of the

  4   Appliances.

              12.    To the best of our knowledge, the Appliances are located in the Debtor's
  5
      Warehouse or on Debtor's delivery trucks owned by Penske Truck Rental which may be located at
  6
      5050 Northam St, La Mirada, CA 90638.
  7
              13.    I am advised that the Trustee intends to auction various personal property. This
  8
      will require tagging items into lots or otherwise. It will be very easy for Trustee and her
  9
      auctioneer to locate my large stove and freezer which I will personally come with bonded and
 10
      insured movers to retrieve the Appliances.
 11
             I declare under penalty of perjury under the laws of the United States of America that the
 12
      foregoing is true and correct.
 13
             Executed this 22nd day of May, 2024 at Irvine, California.
 14

 15

 16
                                                             ROBi
                                                                RT LP. GOE
 17

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4/9/24, 9:19AM                                             Kitchen, Bath, and Outdoor Appliance Showrooms
                                                                   19




                                              PI RC
                    As of Wednesday March 20th, PIRCH is temporarily closing all our sho    rooms through thi weekend.
                    This is a pause of business to give management the opportunity to co    plete a go-forwa • plan.

                    We are navigating through various options. We take this situation very s riously and a working
                    diligently to resolve it. We appreciate your patience while we work to fin a path for ard. We intend
                    to share the go forward plans sometime next week.




                                                    FOR ALL OPEN ORDER INQUIRIES:


                                                     OPENORDERSPIRCH.COM


                                             FOR ALL RETURNS AND EXCHANGE INQUIRIES:


                                                        RETURNS@PIRCH.COM


                                                      TO CANCEL AN OPEN ORDER:


                                                        CA NICE L@ RI RCH COM


                                                    FOR ALL REFUND INFORMATION:


                                                        REFUNDS@).PIRCH COM


                                                      DIRECT OTHER INQUIRIES TO:
                                     GENE HODGES, VP — MARKETING & CORP. COMMUNICATIONS


                                                      MARKETING@PIRCH.COM




https://www.pirch.com                                                                                                                 1/14
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                                                                                                                                     19
  5/9/24, 3:11 PM                                                                                                                      Lightning Experience I Salesforce




                                                                                                                                                                                                            Page 1 of 1
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                                                  AN RBC COMPANY


                                 Account 023979594                                                 Date Posted: 11/1/2023
                                 Item Number: 383                                            Amount: $40,510.31

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     EXHIBIT 3
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                    TEXT MESSAGES BETWEEN ROB GOE AND LESA PEREZ

                             FROM MARCH 4, 2024 TO APRIL 8, 2024




         From Lesa Perez to Rob Goe - Text Message - Saturday March 2, 2024 in response:

         "Did u pay for the extra delivery when you were in the showroom?"

         "Once that is taken care and the units are all in the first delivery can take place."




         To Lesa Perez from Rob Goe - Text Message - Saturday March 2, 2024 at 6:05 pm:

         "Let me be clear. Pirch is being sued for eviction. I'm not paying anything extra.
 Handle this now"




         From Lesa Perez to Rob Goe - Text Message - Monday March 4, 2024 at 10:00 am:

         "Hello Rob, I have scheduled delivery for Friday, March 15, 2024. This delivery will
 be at your Santa Ana Home. Please confirm the date. Thanks Lesa."




         To Lesa Perez from Rob Goe - Text Message - Monday March 4, 2024 in response:

         "Ok. Please make sure all Subzero panels and small Fridge delivered"




         From Lesa Perez to Rob Goe - Text Message - Monday March 4, 2024 in response:

         "Hello, I'm working on having the whole order to be delivered to the Santa Ana
 home.

         "When you are ready for installation please let me know at least a week or two
 before so I can get the date you want. Thanks Lesa."




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        To Lesa Perez from Rob Goe - Text Message - Monday March 4, 2024 in response:

        "I will thanks."




        From Lesa Perez to Rob Goe - Text Message - Monday March 4, 2024 in response:

        Thumb up sign in a meme.




        To Lesa Perez from Rob Goe - Text Message - Wednesday March 20, 2024 at 7:48
 am:

        "Hi Lesa. What time is delivery today?"




        From Lesa Perez to Rob Goe - Text Message - Wednesday March 20,2024 in
 response:

        "Hello. I will find out for you and let you know. I'm sorry I start at 8:15 [ am] so I need
 to login. Lesa.




        To Lesa Perez from Rob Goe - Text Message - Wednesday March 20, 2024 in
 response:

        "Ok thanks so for sure appliances will be delivered today?




        To Lesa Perez from Rob Goe - Text Message - Wednesday March 20, 2024 at 10:39
 am:

        "Hi Lesa can you please check On delivery as we haven't heard anything yet.
 Thanks."




        From Lesa Perez to Rob Goe - Text Message - Wednesday March 20, 2024 in
 response:

        "Will do"




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        To Lesa Perez from Rob Goe - Text Message - Wednesday March 20, 2024 in
 response:

        "Thanks"

        Lesa thanks for call. This confirms my appliances are paid for and on the truck at
 warehouse for delivery. Please advise of delivery date."




        From Lesa Perez to Rob Goe - Text Message - Wednesday March 20, 2024 in
 response:

        "Will do"

        "The moment I know that deliveries have started again you will be the first to know.
 Thank you. Lesa"




        To Lesa Perez from Rob Goe - Text Message - Thursday March 21, 2024 at 7:12 am:

        "Hi Lesa any updates? I would like to have my movers come get my appliances this
 morning. Thanks for update"




        From Lesa Perez to Rob Goe - Text Message - Thursday March 21, 2024 at 8:37 am:

        "Hello. I don't have any updates as of this morning. The warehouse will be closed
 until the end of week. I will advise when the warehouse reopens and deliveries and or pick
 up are back up and running. Thanks. Lesa."




        To Lesa Perez from Rob Goe - Text Message - Thursday March 21, 2024 in response:

        "Ok. This is very stressful but I do appreciate your responding Are you able to send
 me my delivery order to show my appliances on truck?"




        From Lesa Perez to Rob Goe - Text Message - Thursday March 21, 2024 in response:

        "I can send a picking ticket showing what is left in the warehouse. I understand the
 stress this causing you. It's stressful for all of us. I want to keep my job besides having all


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 my clients product delivered to them. Holding on until the end. The last thing I want to do
 is look for another job so yes I do understand the stress you are under. I will keep you
 posed. And send over the picking ticket for you. Lesa.




        To Lesa Perez from Rob Goe - Text Message - Thursday March 21, 2024 in response:

        "Thanks. Really appreciate it"




        To Lesa Perez from Rob Goe - Text Message - Thursday March 21, 2024 at 10:03 am:

        "Hi did you send picking ticket?"




        From Lesa Perez to Rob Goe - Text Message - Thursday March 21, 2024 at 11:21 am:

        "Yes, I did"

        From Lesa Perez to Rob Goe - Text Message - Tuesday March 29, 2024 at 1:24 pm:

        "No word yet Your items are in the la warehouse"




        To Lesa Perez from Rob Goe - Text Message - Tuesday March 29, 2024 in response:

        "Ok got it thanks. What's that address?"




        From Lesa Perez to Rob Goe - Text Message - Tuesday March 29, 2024 at 2:47 pm:

        "I will check when I get hone this afternoon. I took today off from work."




        To Lesa Perez From Rob Goe - Text Message - Tuesday March 29,2024 in response:

        "Ok thanks"

        From Lesa Perez to Rob Goe - Text Message - Monday April 1, 2024 at 8:51 am:

        "Hello, I'm sorry I didn't get back to you on Friday. The rest of the order is at the
 LADC. The address is 12740 East Florence Aven. Santa Fe Springs. 90670




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     EXHIBIT 4
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    From: Lesa Perez < lesa.perez@pirch.com>
    Sent: Thursday, March 21, 2024 11:21 AM
    To: Rob Goe < rgoe@goeforlaw.com>
    Cc: Erika Goe ( erikagoegoe@gmail.com) < erikagoegoe@gmail.com>
    Subject: Re: PIRCH/ORD 252692/ERIKA GOE


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            Case 24-01376-CL7             Filed 05/22/24         Entered 05/22/24 14:41:50   Doc 84-1   Pg. 16 of
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Thanks,


Lesa




Lesa Perez
Project Coordinator


D: 858-966-3636 C: 858-210-2510
E: lesa.perez(@pirch.com Iwww.pirch.com
   Pi RCI-Ig-
1322 Rocky Point Drive, Oceanside, CA 92056
[




            On March 20, 2024 at 8:35 AM PDT rgoe@goeforiaw.com wrote:

            Great thanks

                     GOE
                     FORSYTHE
                     & HODGES
            Robert P. Goe I Partner
            Certified Bankruptcy Specialist
            Goe Forsythe & Hodges LLP
            17701 Cowan Avenue, Suite 210 ( Lobby D) I Irvine, CA 92614
            Office ( 949) 798-2460 I Cell (949) 283-1501 I Fax ( 949) 955-9437
            rcoecoeforlaw.com Iwww.doeforlaw.com
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From: Lesa Perez <lesa.perez@pirch.com>
Sent: Wednesday, March 20, 2024 8:32 AM
To: Rob Goe <rgoe@goeforlaw.com>
Cc: Erika Goe (
              erikagoegoe@gmail.com) <erikagoegoe@gmail.com>
Subject: Re: PIRCH/ORD 252692/ERIKA GOE




 CAUTION: This email originated from outside of the organization. Do not click links or open attachments
                   unless you recognize the sender and know the content is safe.
Hi Rob,


ORD 252692- It says the order is STOP 2. The guys start at 9 a.m. Time frame 9 a.m. - 12



Thanks,


Lesa




Lesa Perez
Project Coordinator

 D: 858-966-3636 C: 858-210-2510
 E: lesa.perezpirch.com I www.pirch.com
   P 1 RC
 1322 Rocky Point Drive, Oceanside, CA 92056
 1




        On March 20, 2024 at 7:44 AM PDT rgoePgoeforlaw.com wrote:

        Hi Lesa what time is our delivery today?




                GOE
                FORSYTHE
                & HODGES
        Robert P. Goe I Partner
        Certified Bankruptcy Specialist
        Goe Forsythe & Hodges LLP
        17701 Cowan Avenue, Suite 210 ( Lobby D) I Irvine, CA 92614
        Office ( 949) 798-2460 I Cell ( 949) 283-1501 I Fax (949) 955-9437
        rcioecoeforlaw.com I www.coeforlaw.com



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     EXHIBIT 5
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                                                                            Picking Ticket
PIRCH, INC.                   Tel : 1 ( 949) 429-0800                           J FA:             Lesa Perez
Costa Mesa Showroom             Fax : 1 ( 949) 429-0670                 Truck No:                 LA2 Delivery 24'
Costa Mesa, CA 92626                                                        Stop No:              1

0 RD- 252692-Ti P4C7




Picking Ticket          (#7) ORD-                       Deliver To:
                        252692-
                        T1P4C7
Sales Rep:              3WOOD                           ERIKA 60E
Customer Name:          Erika Goe                       3401S Sheffield Rd
Document Date:          10/28/2023                    Santa Ana, CA 92704-7151
Ship Date:              11/27/2023
Shipment Method:        Fix Deliveries
Site:                   10003

Product Description .        Bin, I      'Ord .r. Qty - 041/P Serial, Numbers           Location Truck .Requested - Qty , : Picke. Room :
                                         Qtir._ Avail .: Mc:: -                         code -,:    : s-- -Ship-Date
                                                                                                              . : - Picked
                                                                                                                     - - d By
03/20/24 - 3401 S Sheffield Rd, Santa Ana

GR486G                       RECEIVI       1     2        1   STAGING-                  10003    LA2      3/20/2024                 Kitchen
WOLF                           NG                             18799391                           Deily
48" Gas Range                                                 STAGING-                            ery
                                                              18802807                            24'
                                                              RECEIVING-                              .
                        •                                     18806507
                                                              RECEIVING-
                                                              18806925

7023628                      RECEIVI      1      1        1   -No Serial-           10003        LA2      3/20/2024                 Kitchen
SUB-ZERO                       NG                                                                Deliv
DUAL INSTALLATION KIT                                                                             ery
(HANDLE-TO- HANDLE                                                                                24'
INSTALL)
DEC2450 FI/L                  No BIN      1      0        1   STAGING-              10003        LA2      3/20/2024                 Kitchen
SUB-ZERO                                                      24475911                           Deily
(Available 91 in 2023) 24"                                                                        ery
COLUMN, ALL FREEZER,                                                                              24'
LEFT HINGE- PANEL
READY
DVDC                         No BIN       1      0        0   -No Serial-           10003        LA2      3/20/2024                 Kitchen
PIRCH                                                                                            Day
NO CHARGE STANDARD                                                                               ery
DELIVERY (GARAGE                                                                                  24'
ONLY)

                                                                                                Subtotal - No Tax                $20,778.01


 Number of product references:                                                                  Total - No Tax                   $20,778.01
     4




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